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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §              Case No: 2:21-cv-16342-JMV-CLW
                                      §
vs.                                   §              PATENT CASE
                                      §
ASCENSIA DIABETES CARE US, INC., §
                                      §
      Defendant.                      §
_____________________________________ §


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Ascensia

Diabetes Care US, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear

its own fees and costs.




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Dated: December 20, 2021.                Respectfully submitted,


                                         /s/Mark A. Kriegel
                                         MARK KRIEGEL
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on December 20, 2021. Parties
may access the foregoing through the Court’s system.


                                         /s/Mark A. Kriegel
                                         MARK KRIEGEL




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